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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278

                                                    April 17, 2024

By ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, et al.,
               S4 23 Cr. 490 (SHS)

Dear Judge Stein:

       The Government respectfully writes on behalf of the parties to request a one-week
extension of the deadline to submit proposed jury instructions from April 17 until April 24, 2024.
The parties have exchanged draft proposals and comments, but believe additional time is needed
to confer in order to narrow the areas of potential dispute for the Court’s consideration.

                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney

                                              By:   s/ Catherine Ghosh
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                                                    Paul M. Monteleoni
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cc:    (by ECF)

       Counsel of Record
